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                                                                              Oct. 18, 2022

Hon. Chief U.S. District Court Judge Beryl Howell
E. Barrett Prettyman United States Courthouse
333 Constitution Ave. NW
Washington, DC 20001


Re: Former President Trump’s privilege challenge at 1:22-gj-00025

Dear Chief Judge Howell,

Sitting sealed on this court’s docket, in 1:22-gj-00025, is a historic ruling that bears on the ability
of former presidents to control, and even silence, ex-advisers in matters of urgent national
significance. The privilege issues touched upon by your September 28, 2022 ruling may alter
the balance of power in unpredictable ways and bear on the ongoing grand jury proceedings
stemming from the January 6, 2021 attack on the Capitol.

For this reason, I move — in my capacity as a reporter for POLITICO seeking to shed light on
these crucial issues — to intervene and seek an order unsealing all documents filed with this
Court related to former President Trump’s privilege challenge to the Jan. 6 grand jury
investigation.

Specifically, I seek the public disclosure of 1) Former president Trump’s June 10, 2022 action
(and any associated briefs) related to two grand jury subpoenas: 22-GJ-060991378 and
22-GJ-060991380; 2) Any response by the government to this challenge; 3) Any additional
replies by former president Trump; and 4) The court’s September 28, 2022 order adjudicating
this challenge.

I believe each of these records could be unsealed, with redactions as needed to protect the
privacy interests of named individuals and to address the Justice Department’s criminal
investigative prerogatives. However, the court’s reasoning and breadth of its September 28,
2022 ruling implicates none of those concerns.

It’s hard to imagine a weightier constitutional question for the courts to decide than the interplay
between current and former presidents on matters of executive privilege that may bear on
national security. The ramifications are likely to extend far beyond the instant, but similarly
urgent, matter of Donald Trump and January 6, 2021. The ruling has already caused
extraordinary — and similarly secretive — activity at the D.C. Circuit Court of Appeals, which
has resulted in a denial of former President Trump’s emergency motion to delay the impact of
this court’s ruling.

It’s also hard to imagine a matter of more intense public interest than understanding the scope
of a former president’s powers, particularly when that former president is facing questions about
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his role in fomenting an attack on a coequal branch of government.

Thank you for your consideration and attention to this request.


Sincerely,

Kyle Cheney
Senior Legal Affairs Reporter
POLITICO
1000 Wilson Blvd.
Arlington, VA 22209
KCheney@politico.com

Cc: Meredith Jolivert, General Counsel,
POLITICO
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